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                                                                                    18-CV-61075-FAM
                      IN THE UNITED STATES COURT OF APPEALS
                                                                                             AP
                              FOR THE ELEVENTH CIRCUIT

                                _________________________                         Mar 31, 2021
                                     No. 19-10133-GG
                                _________________________                                     MIAMI


  MITZY BATISTA,

                                                                   Plaintiff - Appellant,

                                             versus

  SOUTH FLORIDA WOMANS HEALTH ASSOCIATES, INC.,
  South Florida Woman's Health Association,
  EDWARD D. ECKERT,
  South Florida Woman's Health Association,

                                                                   Defendants - Appellees.
                               __________________________

                               On Appeal from the United States
                       District Court for the Southern District of Florida
                                __________________________

  BEFORE: WILSON, BRANCH, and JULIE CARNES, Circuit Judges.

  BY THE COURT:

        Appellant’s “Unopposed Motion to Transfer” is GRANTED. See 11th Cir. R. 39-2(d).
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                 IN THE UNITED STATES COURT OF APPEALS
                        FOR THE ELEVENTH CIRCUIT

                               CASE NO. 19-10133-GG
  MITZY BATISTA,

        Plaintiff-Appellant,

  v.

  SOUTH FLORIDA WOMAN’S HEALTH
  ASSOCIATES, INC., et al.

       Defendants-Appellees.
  ______________________________________________/

          Appeal from the District Court for the Southern District of Florida
                       Case No. 18-cv-61075-Moreno/Seltzer

                     UNOPPOSED MOTION TO TRANSFER

        Plaintiff-Appellant respectfully requests that consideration of attorney’s fees

  and costs on appeal be transferred to the district court from which the appeal was

  taken pursuant to 11th Cir. R. 39-2.

  Dated: March 8, 2021                   Respectfully submitted,

                                         Koz Law, P.A.
                                         320 S.E. 9th Street
                                         Fort Lauderdale, Florida 33316
                                         Phone: (786) 924-9929
                                         Fax: (786) 358-6071
                                         Email: ekoz@kozlawfirm.com
                                         /s/ Elliot A. Kozolchyk
                                         Elliot A. Kozolchyk
                                         Bar No.: 74791
                                         Counsel for Plaintiff-Appellant
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        Mitzy Batista v. South Florida Woman’s Health Associates, Inc., et al.
                                  Case No. 19-10133

                  CERTIFICATE OF INTERESTED PARTIES
                AND CORPORATE DISCLOSURE STATEMENT

     1. Batista, Mitzy - Plaintiff/Appellant

     2. Edward D. Eckert - Defendant/Appellee

     3. Koz Law, P.A. - Counsel for Plaintiff/Appellant

     4. Kozolchyk, Elliot A. - Counsel for Plaintiff/Appellant

     5. Kula & Associates, P.A. - Counsel for Defendants/Appellees

     6. Kula, Elliot B. - Counsel for Defendants/Appellees

     7. Moreno, Federico A. - United States District Judge

     8. South Florida Woman’s Health Associates, Inc. - Defendant/Appellee

     9. Stevenson Law, PL - Counsel for Defendants/Appellees

     10.Stevenson, Roslyn L. - Counsel for Defendants/Appellees
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                               Respectfully submitted,

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                               /s/ Elliot A. Kozolchyk
                               Elliot A. Kozolchyk, Esq.
                               Bar No.: 74791

                               Counsel for Plaintiff-Appellant
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                       CERTIFICATE OF COMPLIANCE

  1.    This document complies with the type-volume limit of Fed. R. App. P.

  32(c)(2) because it contains 75 words (according to the word-count function of the

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  Word for Office 365 version 2101 in 14-point font size and Times New Roman font.

                                       /s/ Elliot A. Kozolchyk
                                       Elliot A. Kozolchyk
                                       Attorney for Appellant
                                       Dated: 3/8/21
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                         CERTIFICATE OF CONFERRAL

        I HEREBY CERTIFY that I conferred with counsel for Defendants-

  Appellees, Elliot B. Kula, Esq., and he does not oppose the relief sought herein.

                                  /s/ Elliot A. Kozolchyk
                                  Elliot A. Kozolchyk, Esq.
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                            CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was
  electronically filed on March 8, 2021 with the Clerk of Court using CM/ECF along
  with having served all counsel of record or pro se parties identified on the service
  list incorporated herein in the manner specified, either via transmission of Electronic
  filing generated by CM/ECF or in some other authorized manner for those counsel
  or parties not authorized to receive electronically Notice of Electronic Filing.

                                   /s/ Elliot A. Kozolchyk
                                   Elliot A. Kozolchyk, Esq.

                                    SERVICE LIST

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  Counsel for Defendants-Appellees
